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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

PAMELA J. WEBB,                                  §
                                                 §
                       Plaintiff,                §
                                                 §      Civil Action No. 1:11-CV-529
v.                                               §
                                                 §
GLOBAL ACCEPTANCE CREDIT CO.,                    §      JUDGE RON CLARK
                                                 §
                       Defendant.                §

                     ORDER OF DISMISSAL WITHOUT PREJUDICE

       Before the court is the joint stipulation of Plaintiff Pamela J. Webb and Defendant Global

Acceptance Credit Co. of dismissal without prejudice. The court is of the opinion that the stipulation

should be entered and this case dismissed.

       IT IS THEREFORE ORDERED that Plaintiff Pamela J. Webb’s claims against Defendant

Global Acceptance Credit Co. are DISMISSED WITHOUT PREJUDICE. Costs shall be borne by

the party incurring the same.


       So ORDERED and SIGNED this 11 day of January, 2012.




                                                      ___________________________________
                                                      Ron Clark, United States District Judge
